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                                   2
                                                                          UNITED STATES DISTRICT COURT
                                   3                                     NORTHERN DISTRICT OF CALIFORNIA
                                   4

                                   5        SEB INVESTMENT MANAGEMENT AB,                    Case No. 22-cv-03811-TLT
                                   6        et al.,
                                   7                       Plaintiffs,                       ORDER DENYING MOTION TO
                                                                                             DISMISS AMENDED COMPLAINT
                                   8                  v.

                                   9                                                         ECF No. 122
                                            WELLS FARGO & COMPANY, et al.,
                                  10
                                                           Defendants.
                                  11

                                  12              Before the Court is Defendants’ Motion to Dismiss the Amended Complaint. ECF No. 116.
Northern District of California
 United States District Court




                                  13   For the foregoing reasons, Defendants’ Motion is DENIED.

                                  14
                                       I.         PROCEDURAL HISTORY
                                  15              On June 28, 2022, Plaintiff Khosrow Ardalan filed a class-action complaint against
                                  16   Defendants Wells Fargo & Company (“Wells Fargo” or the “Company”), Charles Scharf, Kleber

                                  17   R. Santos, and Carly Sanchez (“Named Defendants”), alleging that all Defendants violated Section
                                       10(b) of the Securities and Exchange Act of 1934 (“Exchange Act”), Rule 10b-5 promulgated
                                  18
                                       thereunder, and Section 20(a) of the Exchange Act. ECF No. 1.
                                  19
                                                  On October 27, 2022, separate actions brought by Plaintiffs Hugues Gervat and Charles
                                  20
                                       Rogers were deemed related. ECF No. 53. On November 14, 2022, Plaintiff SEB Investment
                                  21   Management AB was appointed lead plaintiff. ECF No. 55.
                                  22              On January 31, 2023, Plaintiffs SEB Investment and West Palm Beach Firefighters’
                                  23   Pension Fund filed an amended class-action complaint. ECF No. 69. Plaintiffs reasserted the
                                       Section 10(b) cause of action against all Defendants, but reasserted the Section 20(a) allegation
                                  24
                                       only against Defendant Scharf. Id. On March 30, 2023, cases filed by Asbestos Workers
                                  25
                                       Philadelphia Welfare and Pension Fund and Jose F. Isais were deemed related. ECF No. 99. On
                                  26
                                       August 2, 2023, a case filed by City of Pontiac Reestablished General Employees’ Retirement
                                  27   System was deemed related. ECF No. 107.
                                  28              On August 18, 2023, this Court granted Defendants’ first motion to dismiss. ECF No. 112
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                                       (“Order”). On September 8, 2023, Plaintiffs filed another amended complaint against Defendants,
                                   1
                                       reasserting the same causes of action supported by new factual allegations. ECF No. 116
                                   2
                                       (“Amended Complaint” or “Am. Compl.”). On October 23, 2023, Defendants filed a Motion to
                                   3   Dismiss. ECF No. 122 (“Motion”). On December 7, 2023, Plaintiffs filed their opposition. ECF
                                   4   No. 129 (“Oppo.”). On January 2, 2024, Defendants filed their reply. ECF No. 130 (“Reply”).
                                   5   Oral arguments were heard on January 30, 2024. ECF No. 131.

                                   6
                                       II.      FACTS
                                   7
                                                       1.      Wells Fargo’s History of Issues with Diversity, Equity, and Inclusion
                                   8                           (“DE&I”)
                                                In recent years, Wells Fargo has faced myriad complaints and public scrutiny for corporate
                                   9
                                       scandal and alleged discriminatory conduct. Am. Compl. ¶ 2. In 2011, for example, Wells Fargo
                                  10
                                       paid $32M to settle a sex discrimination case brought by 1,200 female financial advisors for
                                  11   unequal pay and promotional bias. Id. ¶ 69. In 2012, the Company paid $184M to a class of Black
                                  12   and Hispanic debtors to settle claims of unfair and discriminatory treatment in the home lending
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                                  13   division. Id. ¶ 70. In 2013, Wells Fargo paid yet another $36M in settlement costs in an action

                                  14   brought by Black financial advisors who alleged segregation in the workforce and disparate
                                       treatment compared to their white counterparts. Id. ¶ 71. In 2015, the Company entered into a
                                  15
                                       conciliation agreement with the Department of Justice for failure to provide accommodations to
                                  16
                                       disabled employees. Id. ¶ 72. Further, in 2019 and 2020, the Company entered a conciliation
                                  17   agreement with the Department of Labor in response to allegations of discrimination against
                                  18   minority job applicants. Id. ¶¶ 73–74.
                                  19            Resulting from the years of allegations of discrimination, unequal treatment, and other

                                  20   forms of financial scandal, public perception and trust in the Company dwindled, which effected
                                       investment prospects. Legal costs were up to $13.6B by the end of 2020. Id. ¶ 80. The most
                                  21
                                       significant of government penalties, however, was a $1.95T asset ceiling, placed in 2018 by the
                                  22
                                       Federal Reserve, that followed the notorious fake account scandal. Id. ¶ 82. The cap, along with
                                  23   other government enforcement actions and the Company’s dwindling reputation, caused
                                  24   significant financial harm. Id. ¶¶ 76–84. The inability to grow its assets and appease investors
                                  25   incentivized Wells Fargo to reshape internal controls and risk management practices, to reposition

                                  26   itself in the good graces of the government and ultimately the investing public. Id. ¶ 87.

                                  27                   2.      Wells Fargo’s Response to DE&I Issues
                                  28            In Fall 2019, Wells Fargo hired Chief Executive Officer Charles Scharf to ameliorate
                                                                                         2
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                                       regulatory compliance issues, rebuff internal policies and compliance mechanisms, and
                                   1
                                       demonstrate a shift in corporate culture to reposition the Company for financial success. Id. ¶ 92.
                                   2
                                       Stemming from prior agreements with the Department of Labor and other class action settlements
                                   3   which surrounded discriminatory pay, lending, treatment, hiring, and promotional practices,
                                   4   Scharf created initiatives to boost diversity and inclusion efforts. Id. ¶ 112. For example, Scharf
                                   5   established diversity, equity, and inclusion councils at the business level to implement and oversee

                                   6   strategic efforts to improve diversity and inclusion in Wells Fargo’s workforce and beyond. Id. ¶
                                       113. Scharf also personally chaired the Enterprise Diversity & Inclusion Council, which held
                                   7
                                       monthly meetings to organize diversity efforts and “hold people accountable to advancing our
                                   8
                                       diversity and inclusion efforts at all levels.” ¶ 112.
                                   9
                                               As part of this effort, Wells Fargo’s March 2020 proxy announced the Diverse Search
                                  10   Requirement. Id. ¶ 1. The policy required interview slates to consist of at least 50% diverse
                                  11   candidates for most U.S. positions with compensation above $100K. Id. “Diverse” was defined
                                  12   based on race or ethnicity, sex or gender, veteran-status, sexual orientation, and disability. Id. Less
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                                       than three months later, in the wake of social unrest following the murder of George Floyd, Scharf
                                  13
                                       circulated a company-wide memo stating that the lack of Black employees at Wells Fargo could
                                  14
                                       be attributed to the “very limited pool of Black talent to recruit from.” Id. ¶ 117. At a subsequent
                                  15
                                       internal Zoom meeting, Scharf further blamed Wells Fargo’s inability to reach its diversity goals
                                  16   on the lack of “minority talent.” Id.
                                  17           On September 22, 2020, Reuters published a story reporting on Scharf’s comments,
                                  18   leading to widespread public scrutiny of Well’s Fargo DE&I practices, and requiring the Company

                                  19   to respond. Shortly after the story was published, Scharf sent a message to Wells Fargo employees
                                       apologizing for his comments, and highlighted Wells Fargo ongoing DE&I efforts, including the
                                  20
                                       Diverse Search Requirement. Id. ¶ 120. Two months later, Wells Fargo hired Defendant Kleber R.
                                  21
                                       Santos as “head of the newly created Diverse Segments, Representation, and Inclusion group,”
                                  22   which was established to “create[e] a more diverse and inclusive working environment.” Id. ¶ 41.
                                  23   Further, at the April 2021 proxy meeting, then-Chairman of the Board, Charles H. Noski, stated
                                  24   that “DE&I was a ‘key focus’ for the Company’s Board and management team” that was

                                  25   discussed at “every one of [their] regularly scheduled meetings.” Id. He further stated that,
                                       “beginning the fall of 2020, the full Board received DE&I updates at each regularly scheduled
                                  26
                                       Board meeting.” Id. ¶ 307. Further, Wells Fargo spoke publicly about its extensive data collection
                                  27
                                       regarding its diversity hiring practices, including records of every job interview conducted, and the
                                  28
                                       “data lead particularly targeted and dedicated to the [Diverse Segments, Representation, and
                                                                                          3
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                                       Inclusion] space.” Id. ¶¶ 296, 305. Defendant Carly Sanchez, who served as Wells Fargo’s
                                   1
                                       Executive Vice President of Talent Acquisition, Affirmative Action/Equal Employment
                                   2
                                       Opportunity, and Diversity Recruitment, met with the data lead “on a regular . . . basis,” and
                                   3   regularly updated Scharf and Santos on the Company’s DE&I initiatives. ¶ 305–06.
                                   4           These persistent issues also drew the focus of Wells Fargo’s investors. In December 2020,
                                   5   following the blowback from Scharf’s statements, three institutional investors submitted a

                                   6   proposal for Wells Fargo’s hiring processes to “improv[e] workforce diversity . . . .” Id. ¶ 130.
                                       After Wells Fargo objected to the proposal and conferred with the shareholders, the proxy was
                                   7
                                       withdrawn in exchange for Wells Fargo’s agreement to disclose certain information regarding its
                                   8
                                       Diverse Search Requirement. Id. ¶ 135. Further, in 2021 and 2022, institutional shareholders
                                   9
                                       introduced proposals “to conduct racial equity audits” of the Company’s “impact on nonwhite
                                  10   stakeholders and communities of color.” Id. ¶ 138. Wells Fargo opposed both proposals. Id. ¶¶
                                  11   139–40.
                                  12           In its public response to these proposals, and as part of larger effort to improve its
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                                       reputation on diversity issues, Defendants repeatedly spoke publicly about their efforts with the
                                  13
                                       Diverse Search Requirement. Wells Fargo’s financial filings and corporate reports consistently
                                  14
                                       highlighted the Requirement, and Defendants Scharf, Santos, and Sanchez regularly discussed it in
                                  15
                                       interview. See, e.g., id. ¶ 42.
                                  16
                                                       3.      Sham Interviews
                                  17
                                               Despite Defendants’ repeated advertisement of its commitment to interviewing diverse
                                  18
                                       candidates in response to public scrutiny over the Company’s lack of diversity, Plaintiffs allege
                                  19   that the interviews were meaningless. The pleadings put forth allegations that Wells Fargo
                                  20   conducted widespread “sham interviews” of diverse candidates in which Wells Fargo interviewed
                                  21   diverse candidates that would not be hired. Plaintiffs allege that Wells Fargo sought out diverse
                                       candidates to interview for positions that had already been filled, or for which the candidate was
                                  22
                                       not qualified for and could not receive an offer.
                                  23
                                               The allegations are based on direct and indirect personal accounts from Wells Fargo
                                  24
                                       employees and contractors (“FEs”) with knowledge of the sham interviews. For example, the
                                  25   Amended Complaint identifies FE-3, who was a recruiting consultant in the commercial banking
                                  26   division from 2014 to mid-2022. Id. ¶ 182. FE-3 indicated that “70-80% of all open positions in
                                  27   commercial banking” involved sham interviews in which diverse candidates were “being used to

                                  28   check a box, and had no real chance to get the jobs they were applying to.” Id. ¶ 182. FE-3 also

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                                       described a specific example of her involvement in a sham interview when recruiting for a
                                   1
                                       government institutional position in Texas. Although FE-3 selected three candidates with the
                                   2
                                       “necessary banking and government institutional experience,” she also “selected a candidate who
                                   3   had no direct banking experience to comply with the Requirement” because she “could not find
                                   4   enough qualified, diverse candidates.” Id. ¶ 182. Further, based on her collaboration with
                                   5   recruiters in other divisions, such as treasury, compliance, risk, and operational risk, she “knew

                                   6   that the practice was going on in other divisions as well.” Id.
                                            The Amended Complaint also describes the experience of FE-6, a Vice President at Wells
                                   7
                                       Fargo in North Carolina that personally experienced the sham interviews as an interviewee on at
                                   8
                                       least six occasions. Id. ¶ 194. After interviewing but failing to receive an offer for various
                                   9
                                       positions, FE-6 reached out to a team member, and “on more than one occasion,” learned that the
                                  10   team “already had someone in mind to fill the position when she was interviewed.” Id. ¶ 195.
                                  11        Plaintiffs also rely on FE-7, a Vice President in the commercial banking division with a
                                  12   Black colleague that experienced the sham interviews. Id. ¶ 197. According to FE-7, Wells Fargo
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                                       reached out to the colleague about interviewing for a position that it was “having a difficult time
                                  13
                                       filling,” but informed the colleague shortly after the interview that the position had been filled by
                                  14
                                       someone else. Id. ¶¶ 198–99.
                                  15
                                            Plaintiffs also rely on a variety of named former employers. The Amended Complaint
                                  16   discusses Joseph Bruno, a Senior Vice President in the Wealth and Management Division from
                                  17   Florida, who said that “HR recruiters tell the managers that you have to conduct these interviews
                                  18   [of diverse candidates], even though you have clearly explained that a candidate has already been

                                  19   chosen.” Id. ¶ 149. In some cases, Bruno was told by his supervisors to conduct interviews with
                                       diverse candidates even though someone else was already selected for the position. Id. ¶ 150.
                                  20
                                       Bruno provided specific examples of sham interviews he had experienced, such as 2021 interviews
                                  21
                                       for two financial consultant positions on “two top WFA million-dollar teams” that had already
                                  22   been filled. Id. ¶ 152. On September 7, 2021, Bruno sent a letter to nearly 250 Wells Fargo
                                  23   employees and executives, including Defendants Scharf and Santos, regarding “the practice of
                                  24   fake interviews encouraged by a senior regional manager, . . . . Keith Vanderveen.” Id. ¶ 213. Less

                                  25   than a month later, it was reported that Vanderveen had left the firm “after being out for several
                                       weeks on a leave of absence because of “speedbump[s]” that arose from Bruno’s email. Id. ¶ 215.
                                  26
                                            Plaintiffs also point to Phillip Miller who, on February 18, 2021, submitted a complaint to
                                  27
                                       Wells Fargo’s Board through the Wells Fargo Board Communications email address, alleging that
                                  28
                                       Wells Fargo was considering Black applicants “without any commitment to hire those
                                                                                     5
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                                       individuals,” and for the sole purpose of “achiev[ing] its DE&I goals.” Id. ¶ 209. On December
                                   1
                                       13, 2021, there was a meeting for the Wells Fargo’s Governance and Nominating Committee. At
                                   2
                                       the meeting, the Committee was shown a presentation discussing an allegation of racial
                                   3   discrimination made by an individual who believed they had been a token candidate for a job
                                   4   interview. Id. ¶ 214. Miller’s email was referenced in a report prepared for the board. Id. ¶ 214.
                                   5        In May 2022, the New York Times published an article about the practice of holding “sham

                                   6   interviews” with diverse candidates, explaining “seven current or former Wells Fargo employees .
                                       . . said that they were instructed by their direct bosses or human resources managers in the bank’s
                                   7
                                       wealth management unit to interview ‘diverse’ candidates — even though the decision had already
                                   8
                                       been made to give the job to another candidate.” Id. ¶ 156. In response, the United States
                                   9
                                       Attorney’s Office for the Southern District of New York sent Wells Fargo a criminal subpoena
                                  10   regarding the Diverse Search Requirement. Id. ¶ 233. On June 6, 2022, after the Board conferred
                                  11   about the subpoena, Wells Fargo suspended the Diverse Search Requirement. Id. ¶¶ 234–36.
                                  12
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                                              B.      False or Misleading Statements
 United States District Court




                                  13          Plaintiffs identify eleven misleading statements made by Defendants regarding Diverse
                                  14   Search Requirement between February 24, 2021 and June 9, 2022 (the “Class Period”). The

                                  15   accused statements are identified below.

                                  16                  1.      2020 Annual Report
                                  17
                                              On February 23, 2021, Wells Fargo published its Annual Report, which contained the
                                  18
                                       following statement: “[t]hroughout 2020, we also announced our expanded commitments to
                                  19
                                       diversity, equity, and inclusion.” It further stated that “[i]n the U.S., we are requiring a diverse
                                  20
                                       slate of candidates — and a diverse interview team — for most roles with total direct
                                  21
                                       compensation of more than $100,000 per year.” Id. ¶ 262.
                                  22
                                                      2.      March 2021 Proxy
                                  23
                                              On March 16, 2021, Wells Fargo published a proxy statement. Under a heading entitled
                                  24
                                       “Improving Diverse Representation and Inclusion within the Company,” Defendants stated,
                                  25
                                                      [w]e are expanding our diversity and inclusion commitments with a
                                  26                  focus on hiring, promotions, and turnover, with increased
                                                      accountability across all of those areas and are taking specific actions
                                  27                  in support of these commitments.” In particular, Defendants stated,
                                                      “[i]n the U.S., we are requiring a diverse slate of candidates – and a
                                  28                  diverse interview team – for most roles with total direct compensation
                                                                                          6
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                                                      of more than $100,000 per year.
                                   1
                                       Id. ¶ 263.
                                   2
                                              Under a heading entitled “Our Diverse Candidate Sourcing and Interview Guidelines,”
                                   3
                                       Defendants stated:
                                   4
                                                      Consistent with our commitment to advance diversity, equity, and
                                   5                  inclusion (DE&I) and improve workforce diversity, Wells Fargo has
                                                      established Diversity Sourcing and Interview Team Guidelines that
                                   6                  require diverse candidate slates and interview teams (referred to as
                                                      our Diverse Search Requirement). Our Diverse Search Requirement
                                   7                  was originally implemented based on our evaluation of the
                                                      Company’s workforce in order to determine how best to improve
                                   8                  workforce diversity. Based on our ongoing review, the Company
                                                      decided to expand the scope of the Diverse Search Requirement in
                                   9                  2020 as part of our overall and continuing efforts to enhance
                                                      workforce diversity. We define diversity for these purposes to include
                                  10                  the following diversity dimensions: race/ethnicity, gender, LGBTQ,
                                                      veterans, and people with disabilities. The Diverse Search
                                  11                  Requirement requires the following for most U.S. roles with total
                                                      direct compensation greater than $100,000: At least 50% of interview
                                  12                  candidates must be diverse with respect to at least one diversity
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                                                      dimension;”
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                                  13
                                       Id. ¶ 264.
                                  14
                                                      3.     2020 Social Impact and Sustainability Highlights
                                  15
                                              On April 26, 2021, Plaintiffs published a Social Impact report. In a section entitled
                                  16
                                       “Elevating diversity, equity and inclusion,” Defendants stated:
                                  17

                                  18                          To be successful, we must continue to create a truly diverse
                                                      and inclusive workforce that brings a wide range of insights and
                                  19                  perspectives to all levels of our company. Our Diverse Search
                                                      Requirement requires that for most U.S. roles with total direct
                                  20                  compensation greater than $100,000, at least 50% of interview
                                                      candidates must be diverse with respect to at least one diversity
                                  21                  dimension. Further, at least one interviewer on the hiring panel must
                                                      represent at least one diversity dimension. For these purposes, our
                                  22                  definition of diversity includes race/ethnicity, gender, LGBTQ,
                                                      veterans, and people with disabilities. We’re expanding this program
                                  23                  internationally.
                                                              As of December 31, 2020, the Diverse Search Requirement:
                                  24                          ▪ Applied to approximately 95% of all U.S. roles with total
                                                                 direct compensation greater than $100,000; and
                                  25                          ▪ Applied to approximately 48% of all active U.S.
                                                                 employees irrespective of their total direct compensation
                                  26                          ▪ 91% of applicable requisitions had a diverse interview
                                                                 slate [and]
                                  27                          ▪ 94% of applicable requisitions had a diverse interview
                                                                 team.
                                  28   Id. ¶ 265.

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                                                      4.        May 2021 Scharf Testimony
                                   1
                                              On May 26, 2021, Defendant Scharf testified before the United States Senate Committee
                                   2
                                       on Banking, Housing, and Urban Affairs. In a portion of his testimony entitled “Our Commitment
                                   3
                                       to Diversity, Equity, and Inclusion,” Defendant Scharf stated, “for the hiring of many senior roles,
                                   4
                                       we have implemented guidelines that require a diverse slate of candidates (at least 50 percent) and
                                   5
                                       a diverse interview panel.” Id. ¶ 266.
                                   6

                                   7                  5.        2021 ESG Report

                                   8          On July 5, 2021, Wells Fargo published a report with an “update on Wells Fargo’s DE&I

                                   9   commitments. Defendants stated that Wells Fargo was “requir[ing] diverse candidate slates and

                                  10   interview teams for key roles with total direct compensation of more than $100,000,” and that it

                                  11   was requiring “at least 50% of interview candidates to identify with at least one diversity

                                  12   dimension.” Id. ¶ 267.
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                                  13                  6.        2021 Sanchez Interview
                                  14          On October 7, 2021, Sanchez was interviewed for the Talent Acquisition Next Practice
                                  15   Monthly Series. When asked to “talk a little bit about building diverse candidate slates, and
                                  16   increasing opportunities,” Sanchez responded:
                                  17
                                                              [W]e have really focused a lot on the external sourcing and
                                  18                  making sure that we are proactively sourcing for building diverse
                                                      candidate slates. . . . [W]e formalized the candidate slate requirement
                                  19                  for roles $100K and above. It’s probably about a year and a half or
                                                      two years ago to say that you have to have 50% of the slate --of the
                                  20                  candidate slate that will be interviewed needs to be diverse in one
                                                      dimension or another. Also, the interview team has to be diverse, and
                                  21                  so that’s very important as well. But I think the core for us and what’s
                                                      key is not to sit back and wait and see who arrives in that candidate
                                  22                  pool, but to be constantly targeting external as well as internal
                                                      sourcing to make sure that the pipeline is filled with great candidates.
                                  23                  And we’ll identify with the recruiters who work hand-in-hand with
                                                      our diversity sourcing group. . . . [R]ecruiters can say look, I have a
                                  24                  really tough role to fill. I’m having a hard time pipelining that, and so
                                                      the diversity sourcing group can step in and also do a targeted effort
                                  25                  to make sure that they’ve filled that pipeline adequately and found
                                                      where they can find diverse groups.
                                  26   Id. ¶ 269.

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                                                      7.     2022 Human Rights Impact Assessment and Actions in Response
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                                              On February 15, 2022, Wells Fargo published priority recommendations in its Human
                                   2
                                       Rights Impact Assessment. In the section entitled “source of diverse talent,” Defendants stated:
                                   3

                                   4                          In 2021, we increased our partnerships with colleges,
                                                      universities, and other organizations spotlighting diverse talent
                                   5                  recruitment. For example, by expanding our engagement we
                                                      increased our hiring of candidates from Historically Black Colleges
                                   6                  and Universities and Hispanic- Serving Institutions. We also
                                                      instituted diverse candidate slates and interview teams on most jobs
                                   7                  of over $100,000 in total compensation. We are in the process of
                                                      eliminating education requirements in certain job categories to
                                   8                  increase equity in hiring. Programs such as Glide-Relaunch (an in-
                                                      house returnship program) and our Career Development Cohort
                                   9                  program (an in-house diversity focused program that supports our
                                                      partnership with the OneTen Coalition) further support our DE&I
                                  10                  recruiting efforts.
                                       Id. ¶ 273.
                                  11
                                                      8.     March 2022 Proxy
                                  12
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                                              On March 14, 2022, Wells Fargo published a proxy statement. In a section entitled “Our
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                                  13
                                       Approach to Advancing Diversity, Equity, and Inclusion,” Wells Fargo stated:
                                  14
                                                              Our DE&I commitments include a focus on hiring,
                                  15                  promotions, and retention, and have been designed with increased
                                                      accountability across those areas. These include: Diverse
                                  16                  Candidates[:] Diversity Sourcing and Interview Team Guidelines that
                                                      require diverse candidate slates and interview teams for designated
                                  17                  posted positions. We define diversity for these purposes to include the
                                                      following diversity dimensions: race/ethnicity, gender, LGBTQ,
                                  18                  veterans, and people with disabilities.
                                  19                          We conduct and track targeted outreach efforts to
                                                      underutilized populations in order to attract well-qualified individuals
                                  20                  to apply for open positions and identify placement goals to help focus
                                                      recruitment strategies toward underrepresented groups.
                                  21
                                                              We seek to recruit the best and brightest talent with a keen
                                  22                  focus on diversity for senior-level roles. [We] pursue this goal by
                                                      establishing trusted partnerships with candidates, hiring managers,
                                  23                  and recruiting consultants.
                                  24   Id. ¶ 274.
                                  25                  9.     May 2022 Scharf Business Insider Quote
                                  26          On May 27, 2022, Business Insider published an article addressing reports that Wells
                                  27   Fargo had denied mortgages to Black applicants and held sham job interviews with the following
                                  28
                                                                                         9
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                                   1   quotation from Santos:

                                   2                  We researched all the specific hiring-practice allegations the reporter
                                                      shared prior to the story’s publication and we could not corroborate
                                   3                  these allegations as factual.” Santos further stated, “[i]f we believe
                                                      that any manager has conducted an interview with a predetermined
                                   4                  outcome in mind, we believe we should investigate and punish if we
                                                      find wrongdoing.
                                   5
                                       Id. ¶ 232.
                                   6
                                                      10.    2022 DE&I Report
                                   7
                                              On June 1, 2022, Defendants published a DE&I report. In a section entitled “Diverse
                                   8
                                       Candidate Slates and Interview Team,” Defendants stated:
                                   9

                                  10                  For most posted roles in the U.S. with total direct compensation
                                                      greater than $100,000 per year, Wells Fargo requires that at least 50%
                                  11                  of the interview candidates must represent a historically under-
                                                      represented group with respect to at least one diversity dimension and
                                  12                  at least one interviewer on the hiring panel must also represent a
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                                                      historically under-represented group with respect to at least one
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                                  13                  diversity dimension.
                                       Id. ¶ 277.
                                  14

                                  15                  11.    June 2022 Business Insider Quote

                                  16          On June 3, 2022, Business Insider published an article discussing Wells Fargo’s 2022

                                  17   DE&I report, which included a comment from Santos that the Diverse Search Requirement “is

                                  18   working.” The article also cited statistics provided by Wells Fargo as evidence of the

                                  19   Requirement’s success: “In 2019, before the implementation of the rule, 36.9% of hires for people

                                  20   making $100,000 or more were racially or ethnically diverse — Black, Latino, Asian American,

                                  21   Pacific Islander, Native American, or Alaska Native. By 2021, that rose to 42.3% of leaders,

                                  22   according to Wells Fargo.” Id. ¶ 278.

                                  23   III.   LEGAL STANDARD
                                  24          A.      Incorporation-by-Reference Doctrine
                                  25          In a motion to dismiss, other than considering a complaint in its’ entirety, a court considers

                                  26   documents incorporated into the complaint by reference and those of which the court takes judicial
                                       notice. Khoja v. Orexigen Therapeutics, 899 F.3d 988, 998 (9th. Cir 2018).
                                  27
                                              Incorporation-by-Reference “is a judicially created doctrine that treats certain documents
                                  28
                                                                                        10
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                                       as though they are part of the complaint itself.” Id. at 1002. “The doctrine prevents plaintiffs from
                                   1
                                       selecting only portions of documents that support their claims, while omitting portions of those
                                   2
                                       very same documents that weaken – or doom – their claims.” Id. A document may be
                                   3   incorporated-by-reference where a complaint extensively – ordinarily, at least more than once –
                                   4   refers to a document or the document forms the basis for the complaint. Id. at 1002–03. Simply
                                   5   mentioning a document is insufficient to incorporate the document by reference into the

                                   6   complaint. Id. at 1002.
                                               In addition, inferences drawn from documents incorporated into a complaint by reference
                                   7
                                       must be approached with caution. Id. at 1003. While the contents of a document incorporated-by-
                                   8
                                       reference are generally viewed as true at the motion to dismiss stage, if the truth of its’ contents
                                   9
                                       only serve to dispute facts in a well-pleaded complaint, it is improper to assume their truth. Id.
                                  10
                                               B.       Section 10(b) and Rule 10b-5
                                  11
                                               Under Rule 12(b)(6), a party may move to dismiss for “failure to state a claim upon which
                                  12   relief can be granted.” Fed. R. Civ. P. 12(b)(6). To overcome a motion to dismiss, a plaintiff’s “factual
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                                  13   allegations [in the complaint] ‘must . . . suggest that the claim has at least a plausible chance of

                                  14   success.’” Levitt v. Yelp! Inc., 765 F.3d 1123, 1135 (9th Cir. 2014) (citing Ashcroft v. Iqbal, 556 U.S.
                                       662 (2009) and Bell Atlantic Corporation v. Twombly, 550 U.S. 544 (2007)). The court “accept[s]
                                  15
                                       factual allegations in the complaint as true and construe[s] the pleadings in the light most favorable to
                                  16
                                       the nonmoving party.” Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir.
                                  17   2008). However, “conclusory allegations of law and unwarranted inferences are insufficient to avoid a
                                  18   Rule 12(b)(6) dismissal.” Cousins v. Lockyer, 568 F.3d 1063, 1067 (9th Cir. 2009).

                                  19           “Securities fraud class actions must meet the higher, more exacting pleading standards of
                                       Federal Rule of Civil Procedure 9(b) and the Private Securities Litigation Reform Act (‘PSLRA’).”
                                  20
                                       Or. Pub. Emps. Ret. Fund v. Apollo Grp. Inc., 774 F.3d 598, 604 (9th Cir. 2014). Rule 9(b) dictates
                                  21
                                       that the “circumstances constituting fraud or mistake shall be stated with particularity.” Fed. R. Civ.
                                  22   Proc. 9(b). It is not enough for a plaintiff merely to identify an allegedly fraudulent statement made by
                                  23   defendants. In re GlenFed, Inc. Secs. Litig., 42 F.3d 1541, 1548 (9th Cir. 1994) (en banc). Plaintiffs

                                  24   must allege “why the disputed statement was untrue or misleading when made.” Id. at 1549. Moreover,
                                       “the complaint shall specify each statement alleged to have been misleading, the reason or reasons why
                                  25
                                       the statement is misleading, and, if an allegation regarding the statement or omission is made on
                                  26   information and belief, the complaint shall state with particularity all facts on which that belief is
                                  27   formed.” 15 U.S.C. § 78u–4(b)(1)(B). The PSLRA additionally requires a complaint to “state with
                                  28   particularity facts giving rise to a strong inference that the defendant acted with the required state of

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                                       mind” with respect to each alleged false statement or omission. 15 U.S.C. § 78u-4(b)(2)(A). Plaintiffs
                                   1
                                       alleging securities fraud must plead all the elements of a securities fraud action with particularity. Or.
                                   2
                                       Pub. Emps., 774 F.3d at 605.
                                   3
                                       IV.     DISCUSSION
                                   4
                                               A.      Incorporation-by-Reference
                                   5
                                               The Court previously held that the articles by Business Insider and the New York Times
                                   6   could be incorporated-by-reference. Order, at 2. So too here. The articles are referenced and
                                   7   quoted extensively in the amended complaint. See Am. Compl. ¶¶ 235, 278, 323, 327–28
                                   8   (Business Insider published June 3, 2022); Id. ¶¶ 18–19, 22, 156, 226–27, 233, 275, 291, 319–21,

                                   9   325–26 (New York Times published May 19, 2022); Id. ¶¶ 19, 22, 24, 158, 233, 238–39, 291, 328,
                                       332–33 (New York Times published June 9, 2022).
                                  10
                                               In addition, the February 18, 2021 e-mail from Phillip Miller and the September 7, 2021 e-
                                  11
                                       mail from Joseph Bruno is quoted from or extensively referred to throughout the amended
                                  12
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                                       complaint. Id. ¶¶ 13–14, 16, 18, 209, 214, 217, 283–84, 287 (Miller e-mail); Id. ¶¶ 15, 213, 215,
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                                  13   217, 286–88, 290 (Bruno e-mail). The Miller e-mail and the Bruno e-mail are used to support the
                                  14   argument that defendants were put on notice of “sham interviews” and thus support the basis for
                                  15   scienter. The Court finds that the contents of these two e-mails may be incorporated-by-reference
                                       into the pleadings.
                                  16
                                               The December 13, 2021, Governance and Nominating Committee report is also referenced
                                  17
                                       three times to support an inference that defendants had knowledge of Miller’s e-mail accusing the
                                  18
                                       practice of “sham interviews,” and, ultimately, an inference of scienter. Id. ¶¶ 16, 214, 287.
                                  19   Therefore, the Court finds the contents of this document appropriate to be incorporated-by-
                                  20   reference into the amended complaint, insofar as the contents address the scienter argument. The
                                  21   Court, however, limits any inferences drawn from this report to those related to the scienter

                                  22   argument.
                                               Last, a May 24, 2021, Employment Investigation report is referenced three times in the
                                  23
                                       complaint. The pleadings allege that the employment investigation was “self-serving” and “limited
                                  24
                                       to whether Wells Fargo executives were using diverse interviews to achieve their 2020 goals for
                                  25   compensation and bonus targets.” Id. ¶¶ 14, 284. It is also referenced to the extent that Wells
                                  26   Fargo created a “false impression that [the practice of sham interviewing] was not a credible or
                                  27   serious issue that had long since been brought to the Company’s attention.” Id. ¶ 18. The Court

                                  28   finds the Employment Investigation report to be properly incorporated into the complaint by

                                                                                           12
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                                       reference. However, as the truth of the Employment Investigation report would only serve to
                                   1
                                       dispute the factual allegation that the investigation was “self-serving,” it would be improper for
                                   2
                                       the Court to assume the truth of the ultimate finding included in the contents of the report. See
                                   3   Khoja, 899 F.3d at 1003.
                                   4
                                              B.      The Section 10(b) and Rule 10b-5 “Strong Inference” of Scienter
                                   5
                                              To assert a claim under Section 10(b) and Rule 10b-5, a plaintiff must allege: “(1) a
                                   6   material misrepresentation or omission by the defendant [(“falsity”)]; (2) scienter; (3) a connection
                                   7   between the misrepresentation or omission and the purchase or sale of a security; (4) reliance upon
                                   8   the misrepresentation or omission; (5) economic loss; and (6) loss causation.” Glazer Cap. Mgmt.,

                                   9   L.P. v. Forescout Techs., Inc., 63 F.4th 747 (9th Cir. 2023) (citing In re NVIDIA Corp. Sec. Litig.,
                                       768 F.3d 1046, 1052 (9th Cir. 2014)). Defendants allege Plaintiffs insufficiently plead material
                                  10
                                       misrepresentation and scienter. The Court addresses each below.
                                  11

                                  12                  1.      Plaintiffs sufficiently plead that Defendants made material
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                                                              misrepresentations.
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                                  13          “A statement is false or misleading if it ‘directly contradict[s] what the defendant knew at
                                  14   that time’ or ‘omits material information.’” Glazer Cap. Mgmt., 63 F.4th at 764 (citing Khoja, 899
                                  15   F.3d at 1008–09). Even if a statement is technically “not false, it may be misleading if it omits
                                       material information.” Khoja, 899 F.3d at 1008–09. When defendants “tout positive information to
                                  16
                                       the market,” they must “do so in a manner that wouldn’t mislead investors, including disclosing
                                  17
                                       adverse information that cuts against the positive information.” Schueneman v. Arena Pharms.,
                                  18
                                       Inc., 840 F.3d 698, 705–06 (9th Cir. 2016) (quotation marks and citation omitted). Courts evaluate
                                  19   whether a statement is misleading from the perspective of a “reasonable investor.” In re Alphabet,
                                  20   Inc. Sec. Litig., 1 F.4th 687, 699 (9th Cir. 2021). To sufficiently plead material misrepresentation,
                                  21   “the complaint shall specify each statement alleged to have been misleading, the reason or reasons

                                  22   why the statement is misleading, and if an allegation regarding the statement or omission is made
                                       on information and belief, the complaint shall state with particularity all facts on which that belief
                                  23
                                       is formed.” 15 U.S.C. § 78u-4(b)(1).
                                  24
                                              Here, Plaintiffs identified eleven statements in which Defendants described the Diverse
                                  25   Search Requirement and advertised its success. As discussed below, Plaintiffs provided sufficient
                                  26   reasoning for why each statement was misleading and sufficiently particularized facts in support
                                  27   of these reasons.

                                  28                          a.      Defendants’ statements misleadingly imply that the Diverse
                                                                                       13
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                                                                     Search Requirement advanced Wells Fargo’s DE&I efforts.
                                   1
                                              Plaintiffs claim that Defendants’ statements describing the Diverse Search Requirement
                                   2
                                       were misleading. Defendants characterized the policy of interviewing 50% diverse candidates as a
                                   3   method of improving diversity and inclusion at Wells Fargo, and a reasonable investor would
                                   4   expect Defendants would implement the policy in a manner that could achieve that goal. Instead,

                                   5   Plaintiffs allege that Wells Fargo conducted interviews with diverse candidates that they had no
                                       intention of hiring, and thus it was misleading to advertise the Requirement as a method of
                                   6
                                       improving diversity. For example, Plaintiffs allege that Defendants recruited diverse candidates
                                   7
                                       for interviews even though they were unqualified for the position and certain not to receive an
                                   8
                                       offer. See, e.g., Am. Compl. ¶ 182. Plaintiffs further allege that Defendants solicited interviews
                                   9   from diverse candidates even when another candidate had already been selected purely to meet the
                                  10   50% requirement. See, e.g., id. ¶¶ 150, 195. Interviewing candidates who had no chance of
                                  11   receiving an offer could not accomplish Defendants’ stated goal of improving workforce diversity.

                                  12   Further, as described by certain confidential witnesses, this practice can alienate and demean
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                                       diverse candidates, which also is contrary to Defendants’ stated goals of accomplishing equity and
                                  13
                                       inclusion within the workplace. A reasonable investor would expect a policy that is presented as a
                                  14
                                       method of developing DE&I in the workplace to be implemented in a manner that could
                                  15   accomplish that goal. Instead, per Plaintiffs’ allegations, Defendants implemented the policy in a
                                  16   way that actively moved away from those goals.
                                  17          Defendants argue that their statements are not misleading because their accused statements

                                  18   solely promised that 50% of interview candidates would be diverse, without addressing whether
                                       those diverse candidates would be hired. Thus, whether the interviews were conducted with the
                                  19
                                       intent to hire the candidates is not relevant to this inquiry. For example, Defendants argue that
                                  20
                                       Sanchez’s statements in her October 2021 interview were not misleading because she spoke about
                                  21   Wells Fargo’s success in filling its candidate pools with diverse candidates without addressing
                                  22   whether those diverse candidates could secure jobs after the interview. Motion, at 12.
                                  23          The Court disagrees. Defendants’ arguments ignore the surrounding language in the

                                  24   accused statements, and the greater context in which the statements were made. First, Defendants’
                                       statements framed the Diverse Search Requirement as a method for improving work force DE&I.
                                  25
                                       For example, in the March 2021 Proxy, Wells Fargo described the Diverse Search Requirement in
                                  26
                                       a section entitled “Improving Diverse Representation and Inclusion within the Company, ” and
                                  27
                                       explicitly stated that this policy was implemented “to improve workforce diversity.” Am. Compl.
                                  28   ¶ 264, March 2021 Proxy; see also id. ¶ 265, 2020 Social Impact and Sustainability Highlights
                                                                                      14
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                                       (“Elevating diversity, equity, and inclusion [:] To be successful, we must continue to create a truly
                                   1
                                       diverse and inclusive workforce that brings a wide range of insights and perspectives to all levels
                                   2
                                       of our company. Our Diverse Search Requirement requires that for most U.S. roles with total
                                   3   direct compensation greater than $100,000, at least 50% of interview candidates must be diverse
                                   4   with respect to at least one diversity dimension.”); id. ¶ 273, Priority Recommendations of the
                                   5   Wells Fargo Human Rights Impact Assessment and Actions in Response (discussing diverse

                                   6   search requirement in section entitled “Source of Diverse Talent”);iId. ¶ 274, March 2022 Proxy
                                       (after explaining the diverse search requirement, stating “[w]e conduct and track targeted outreach
                                   7
                                       efforts to underutilized populations in order to attract well-qualified individuals to apply for open
                                   8
                                       positions and identify placement goals to help focus recruitment strategies toward
                                   9
                                       underrepresented groups.”). In fact, during his October 2021 interview, Sanchez specifically stated
                                  10   that the purpose of the Diverse Search Requirement was to “make sure that the pipeline is filled
                                  11   with great candidates.” Id. ¶ 269. Defendants misleadingly stated that they implemented a policy
                                  12   requiring a slate of 50% diverse candidates to improve diversity, equity, and inclusion. Taking
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                                       Plaintiffs’ allegations as true, Defendants implemented these policies in a manner that did not
                                  13
                                       align with this goal.
                                  14
                                               Second, Defendants made these statements in the context of pressure from the government,
                                  15
                                       investors, and general public regarding DE&I issues. Prior to making these statements, Wells
                                  16   Fargo had been embroiled in numerous controversies and lawsuits centered around workplace
                                  17   diversity issues for over a decade. Wells Fargo also received heightened public scrutiny after
                                  18   Defendant Scharf publicly blamed its lack of diversity on lack of diverse talent in the job market.

                                  19   Additionally, Wells Fargo received multiple investor proposals seeking increased public
                                       disclosures regarding its diversity recruiting practices, and audits of its racial equity practices.
                                  20
                                       Defendants made its statements regarding the Diverse Search Requirement in response to these
                                  21
                                       incidents, and reasonable investor would expect the policy to actually address the underlying
                                  22   issues. 1 As such, Plaintiffs provide sufficient reasons as to why Defendants’ statements were
                                  23

                                  24   1
                                         Defendants also argue that Santos’s quote in the June 2022 Business Insider article stating that
                                  25   “the rule is working” is not misleading because it is not capable of being objectively verified.
                                       Motion, at 13. Though it may be difficult to quantity and verify improvements in diversity, the
                                  26   Court need not weigh in on this issue because the statement is misleading regardless of a measured
                                       change in diversity. Defendants advertised the Diversity Search Requirement as a method of
                                  27   improving DE&I, and implementation of the Requirement in a manner does not advance this goal
                                       is misleading. Pursuant to the Plaintiffs’ added allegations, Wells Fargo interviewed diverse
                                  28   candidates with no intent to hire them. Wells Fargo’s sole purpose in conducting those interviews
                                       was to advertise the Requirement, rather than improve DE&I. Thus, regardless of whether an
                                                                                         15
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                                       misleading.
                                   1

                                   2

                                   3                          b.      Plaintiffs provided sufficiently particularized allegations of
                                                                      sham interviews.
                                   4          Under Rule 10b-5(b), it must be shown that defendants “ma[de] an untrue statement of
                                   5   material fact or fail[ed] to disclose a material fact … necessary to prevent an investor from being

                                   6   misled under the circumstances of which the statements were made.” 17 C.F.R. § 240.10b-5(b).
                                              Plaintiffs allege that Defendants’ statements regarding the Diverse Search Requirement
                                   7
                                       were misleading based of the widespread sham interviews. As support for this contention,
                                   8
                                       Plaintiffs cite to various former employees. For example, FE-3 indicated that “70-80% of all open
                                   9
                                       positions in commercial banking” involved sham interviews with diverse candidates, and that this
                                  10   practice occurred in other divisions as well. Am. Compl. ¶ 182. FE-3 also recounted her
                                  11   experience soliciting an interview from an unqualified candidate despite already having three
                                  12   qualified candidates. Additionally, the Amended Complaint discusses FE-6, who claims to have
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                                  13   experienced at least six sham interviews. Id. ¶ 194. FE-6 arrived at this conclusion after receiving
                                       rejections for roles on various teams and learning from team members that they already had
                                  14
                                       someone in mind for the position when she interviewed. Id. ¶ 195. Plaintiffs also rely on the
                                  15
                                       account of FE-7, who had a Black colleague that allegedly experienced a sham interview. Id. ¶
                                  16   197. The colleague concluded that she had experienced such an interview because she was told the
                                  17   Company was having difficulty filling the position when she interviewed, yet the position was
                                  18   filled shortly after. Id. ¶ 198. The Amended Complaint also relies on Bruno’s statements

                                  19   regarding his general personal experience conducting sham interviews after encouragement from
                                       his superiors. Plaintiffs also described specific examples of Bruno’s involvement in sham
                                  20
                                       interviews for a financial analyst position that had already been filled. Id. ¶ 149.
                                  21
                                              Defendants repeat their argument from their original Motion to Dismiss that Plaintiffs have
                                  22   not plead particularized facts showing that the sham interviews were sufficiently widespread to
                                  23   establish falsity. The Amended Complaint, however, provided new allegations expanding the
                                  24   geographical and organizational scope of the sham interviews. See, e.g., Am. Compl. ¶¶ 182, 184

                                  25   (recruiter assigned to the “entire country” alleging the occurrence of sham interviews in recruiting
                                       for treasury positions, compliance risk positions, operational risk positions, and as much as 70-
                                  26
                                  27

                                  28   improvement in diversity Wells Fargo can be measured, advertising this Requirement as a
                                       mechanism for achieving this improvement is misleading.
                                                                                    16
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                                       80% of commercial banking positions), id. (recruiter alleging the occurrence of a sham interview
                                   1
                                       in South Dakota); id. ¶¶ 194–95 (North Carolina-based employee alleging occurrence of a sham
                                   2
                                       interviews). Defendants have neither cited any authority nor provided any argument indicating that
                                   3   allegations across multiple states and divisions are insufficiently widespread to establish falsity.
                                   4   As such, Plaintiffs have sufficiently plead falsity.
                                   5
                                                       2.       Plaintiffs sufficiently alleged scienter.
                                   6           Plaintiffs must allege that Defendants acted with scienter, a “mental state that not only
                                   7   covers intent to deceive, manipulate, or defraud, but also deliberate recklessness.” Schueneman,
                                   8   840 F.3d at 705 (internal citation and quotation marks omitted). “[D]eliberate recklessness is ‘an

                                   9   extreme departure from the standards of ordinary care . . . which presents a danger of misleading
                                       buyers or sellers that is either known to the defendant or is so obvious that the actor must have
                                  10
                                       been aware of it.” Id.
                                  11
                                               Under the PSLRA, the pleadings must give rise to a “strong inference” of scienter. 15
                                  12
                                       U.S.C. § 78u-4(b)(2)(A). A “strong inference” of scienter requires that an inference drawn in favor
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                                  13   of plaintiff is not merely plausible, but “cogent and at least as compelling as any opposing
                                  14   inference of nonfraudulent intent.” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 313

                                  15   (2007). Courts are required to “weigh plausible, nonculpable explanations for the defendant’s
                                       conduct, as well as inferences favoring the plaintiff.” Reese v. Malone, 747 F.3d 557, 579 (9th Cir.
                                  16
                                       2014) (quoting Tellabs, 551 U.S. at 323–24). When evaluating the sufficiency of a plaintiff’s
                                  17
                                       scienter allegations, courts first “determine whether any of the allegations, standing alone, are
                                  18
                                       sufficient to create a strong inference of scienter.” City of Dearborn Heights Act 345 Police &
                                  19   Fire Retirement System v. Align Tech., Inc., 856 F.3d 605, 620 (9th Cir. 2017) (citing N.M. State
                                  20   Inv. Council v. Ernst & Young LLP, 641 F.3d 1089, 1095 (9th Cir. 2011)). “[I]f no individual
                                  21   allegation is sufficient, we conduct a ‘holistic’ review of the same allegations to determine
                                       whether the insufficient allegations combine to create a strong inference of intentional conduct or
                                  22
                                       deliberate recklessness.” Id.
                                  23
                                               Here, the Amended Complaint provides direct and indirect evidence that Defendants
                                  24
                                       knowingly made false statements regarding the Diverse Search Requirement. When viewed
                                  25   holistically, these allegations raise a strong inference of scienter.
                                  26
                                                                a.     Plaintiffs’ allegations that Defendants received direct notice of
                                  27                                   the sham interviews support an inference of scienter.

                                  28           Plaintiffs allege that individual Defendants were directly informed of the issues with the

                                                                                          17
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                                       Diverse Search Recruitment via the individual complaints submitted by Miller and Bruno. In
                                   1
                                       February 2021, Miller submitted a complaint to the Board, including Defendant Scharf, alleging
                                   2
                                       that Wells Fargo was considering Black applicants “without any commitment to hire those
                                   3   individuals.” Am. Compl. ¶ 209. Further, in September 2021, Bruno sent a letter to 250 Wells
                                   4   Fargo employees, including Defendants Scharf and Santos, criticizing Vanderveen for pressuring
                                   5   him to conduct sham interviews. Id. ¶ 213. Although Defendant Sanchez received neither

                                   6   communication, nor did Defendant Santos receive the Bruno letter, it was highly likely that all
                                       named Defendants would be aware of both communications given their roles supervising diversity
                                   7
                                       hiring initiatives.
                                   8
                                                 Defendants argue that these communications do not support a strong inference of scienter
                                   9
                                       because Plaintiffs did not plead particularized facts supporting the conclusion that Defendants
                                  10   actually reviewed them. Defendants’ argument raises a fact issue that is not appropriately
                                  11   addressed at this stage. Plaintiffs are required to “raise a strong inference of fraud, . . . [but] do not
                                  12   have to conclusively eliminate all doubt.” In re LDK Solar Sec. Lit., 584 F. Supp. 2d 1230, 1255–
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                                       56 (N.D. Cal. 2008). Plaintiffs’ allegations that Scharf and Santos received communications via
                                  13
                                       their individual email addresses, or the Board email address suggest that they were aware of these
                                  14
                                       issues.
                                  15
                                                 Defendants also argue that this Court should not consider these allegations because
                                  16   Plaintiffs copied them from a complaint in a separate litigation and applied them here without
                                  17   additional investigation. As this Court stated in Plumbers & Pipefitters Local Union #295 Pension
                                  18   Fund v. CareDx, Inc., a party can rely on allegations made in a separate complaint when they

                                  19   “perform an adequate independent investigation.” 2023 WL 4418886, at *4 (N.D. Cal. May 24,
                                       2023). The party “need not corroborate every fact, [but] must provide an independent basis that
                                  20
                                       goes towards corroborating the allegations such that they are reasonable. Id. Here, Plaintiffs’
                                  21
                                       communication with a confidential witness who had personal knowledge of certain issues, in
                                  22   addition to their review of corroborating public information, was “adequate independent
                                  23   investigation.” Thus, the Miller and Bruno emails support an inference of scienter.
                                  24
                                                                b.     Plaintiffs’ circumstantial allegations of scienter, in combination
                                  25                                   with their direct notice allegations, raise a strong inference of
                                                                       scienter.
                                  26             Plaintiffs augmented their scienter allegations with circumstantial evidence, including
                                  27   Wells Fargo’s overall focus on workforce diversity and Defendants’ involvement in these issues.
                                  28   Considering these allegations, holistically, with the direct complaints, Plaintiffs’ allegations raise a
                                                                                           18
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                                       strong inference of scienter.
                                   1
                                              First, a plaintiff sufficiently pleads scienter for corporate executives on a topic by
                                   2
                                       demonstrating that they “had access to and used reports documenting” trends in that topic. In re
                                   3   Quality Sys., Inc. Sec. Litig., 865 F.3d 1130, 1145 (9th Cir. 2017). For example, in Quality
                                   4   Systems, the Ninth Circuit held that the plaintiffs had sufficiently plead a strong inference of
                                   5   scienter regarding misleading statements about sales projection. Id. The plaintiff’s allegations

                                   6   were based, in part, on sales reports that were delivered or accessible to the management team.
                                       The fact that the senior executives “habitually monitored” the company’s earnings raised a strong
                                   7
                                       inference of scienter. Id. Statements from the executives, themselves, about using and having
                                   8
                                       access to this sales information also bolstered this inference. Id. Similarly, Wells Fargo maintained
                                   9
                                       extensive records regarding its interview processes and diversity initiatives, including records of
                                  10   every job interview. Amd. Compl. ¶ 220. Sanchez met bi-monthly with recruiters to do a “deep
                                  11   dive into the data on what was working and what was not,” and regularly met with the data analyst
                                  12   dedicated to diversity. Id. ¶ 223. Sanchez also stated that Defendants Scharf and Santos “were
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                                       regularly updated on the Company’s DE&I initiatives.” Id. ¶ 306.
                                  13
                                              Further, Wells Fargo’s Board and senior management “regularly reviewed, monitored, and
                                  14
                                       discussed diversity initiatives” using various metrics, which were also used in “regular business
                                  15
                                       reviews to gauge whether the Company was meeting its DE&I goals.” Id. ¶ 221. In fact, beginning
                                  16   in the fall of 2020, the Board received DE&I updates at each regularly scheduled Board meeting.
                                  17   Defendants Scharf and Santos, as members of the Operating Committee, were “intimately
                                  18   involved in the Company’s diverse hiring initiatives throughout the Class Period, including being

                                  19   specifically focused on diverse workforce representation, significantly increasing the number of
                                       Black individuals in leadership roles, and holding senior management accountable for progress in
                                  20
                                       improving diverse representation and inclusion initiatives.” Id. ¶ 222.
                                  21
                                              Further, there is a strong inference of scienter for issues that receive a significant amount
                                  22   of internal and external attention. Reese, 747 F.3d at 579. This inference is bolstered where the
                                  23   defendant has financial or reputational incentives to make misleading statements. Id. For example,
                                  24   in Reese v. Malone, the Ninth Circuit found that plaintiffs plead a strong inference of scienter

                                  25   regarding defendant’s compliance with environmental law, where there had been “significant
                                       federal and state government intervention into [defendant’s] operations” on this issue, defendant
                                  26
                                       specifically addressed this issue in its annual report, and the CEO requested regular updates. 747
                                  27
                                       F.3d at 579. The incentive to present compliance with environmental laws further strengthened the
                                  28
                                       inference. Similarly, here, Defendants have been the subject of multiple investigations and
                                                                                       19
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                                       lawsuits regarding diversity issues in its workforce. Amd. Compl. ¶¶ 69–74. Further, its
                                   1
                                       institutional investors explicitly demanded that it take action to address these issues. Id. ¶¶ 135–
                                   2
                                       38. As a result, Defendants designated a data analyst to specifically focus on these issues, and
                                   3   regularly solicited progress reports. See, e.g., id. ¶¶ 41, 112 120, 296, 305, 307.
                                   4            Finally, an employee’s resignation can support an inference of scienter. City of Dearborn
                                   5   Heights, 856 F.3d at 620 (citing Zucco Partners, LLC v. Digimarc Corp., 552 F.3d 981, 1002 (9th

                                   6   Cir. 2009)). However, to support the inference, the plaintiff must plead that “the resignation at
                                       issue was uncharacteristic when compared to the defendant’s typical hiring and termination
                                   7
                                       patterns or was accompanied by suspicious circumstances.” Id. Here, Plaintiffs allege that
                                   8
                                       Vanderveen’s retirement supports an inference of scienter based on the chronology of events and
                                   9
                                       confidential sources. In February 2021, Miller submitted a complaint to the Board regarding sham
                                  10   interviews. Am. Compl. ¶ 201.In September 2021, Bruno emailed the 250 employees, including
                                  11   Defendants Scharf and Santos, complaining, in part, about Vanderveen’s role in the sham
                                  12   interviews. Id. ¶ 215. Less than two months later, the Board was given a presentation on an
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                                       unidentified allegation of a sham interview, which also mentioned Miller’s complaint. Id. Less
                                  13
                                       than a month after that, AdvisorHub, reported that Vanderveen had been on a leave of absence for
                                  14
                                       the past several weeks and would be retiring. Id. AdvisorHub further reported that current and
                                  15
                                       former Wells Fargo managers indicated that Vanderveen may have left because of Bruno’s email.
                                  16   Id.
                                  17            When viewed holistically, these allegations support a strong inference of scienter. The
                                  18   employee-submitted complaints, the peculiar timing of Vanderveen’s departure, and Defendants’

                                  19   demonstrated focus on diversity issues supports a strong inference of scienter that is “cogent and
                                       at least as compelling” as an opposing inference that Defendants remained oblivious. Thus,
                                  20
                                       Defendants’ Motion is DENIED as to Plaintiffs’ Section 10(b) claim.
                                  21

                                  22            C.      Section 20(a)
                                             Section 20(a) of the PSLRA states that:
                                  23
                                                        Every person who, directly or indirectly, controls any person liable
                                  24                    under any provision of this chapter or of any rule or regulation
                                                        thereunder shall also be liable jointly and severally with and to the
                                  25                    same extent as such controlled person to any person to whom such
                                  26                    controlled person is liable, unless the controlling person acted in good
                                                        faith and did not directly or indirectly induce the act or
                                  27                    acts constituting the violation or cause of action.

                                  28   15 U.S.C. § 78t.
                                                                                          20
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                                              “In order to prove a prima facie case under § 20(a), plaintiff must prove: (1) a primary
                                   1
                                       violation of federal securities laws . . . . ; and (2) that the defendant exercised actual power or
                                   2
                                       control over the primary violator . . . .” Howard v. Everex Sys., 228 F.3d 1057, 1065 (9th Cir.
                                   3   2000). “Whether [the defendant] is a controlling person is an intensely factual question, involving
                                   4   scrutiny of the defendant's participation in the day-to-day affairs of the corporation and the
                                   5   defendant's power to control corporate actions.” Id. There is no binding authority establishing

                                   6   whether a plaintiff must meet the 9(b) pleading standard for alleging “actual power or control,”
                                       and there is a split of authority among district courts in the Ninth Circuit on this issue. Compare
                                   7
                                       Kyung Cho v. UCBH Holdings, Inc., 890 F. Supp. 2d 1190, 1205 (N.D. Cal. 2012), with In re
                                   8
                                       Volkswagen “Clean Diesel” Mktg., Sales Pracs., & Prods. Liab. Litig., 2017 WL 66281, at *19
                                   9
                                       (N.D. Cal. Jan. 4, 2017). This Court finds that the heightened pleading standard does not apply to
                                  10   allegations of control or power.
                                  11          Pleadings that include “allegations about an individual’s title and duties have been found to
                                  12   be sufficient to establish control.” Mueller v. San Diego Ent. Partners, No. 16-cv-2997, LLC,
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 United States District Court




                                       2017 WL 3387732, at *6 (S.D. Cal. Aug. 7, 2017).
                                  13
                                              Plaintiffs assert a Section 20(a) claim against Defendant Scharf. As stated above, Plaintiffs
                                  14
                                       have sufficiently plead a primary violation of federal securities law under Section 10(b) against
                                  15
                                       Scharf. Further, Plaintiffs allegations regarding Scharf’s role as CEO and President and
                                  16   involvement in Wells Fargo’s diversity efforts sufficiently allege this “actual power or control.”
                                  17   Thus, Defendants’ Motion is DENIED as to Plaintiffs’ Section 20(a) claim.
                                  18
                                       V.     CONCLUSION
                                  19          Having carefully considered the parties’ briefs, oral arguments, relevant legal authority,
                                  20   and for the reasons stated above, Defendants’ Motion to Dismiss is DENIED.
                                  21
                                              IT IS SO ORDERED.
                                  22
                                       Dated: July 29, 2024
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                                  25                                                                  TRINA L. THOMPSON
                                                                                                      United States District Judge
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